                        Case 4:10-cr-00229-BRW                          Document 144           Filed 06/12/12              Page 1 of 7
,'0.AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case                                                               (NOTE: Identify Changes with Asterisks(*))
            Sheet 1
                                                                                                                                                 FILED
                                                                                                                                            U.S. DISTRICT COURT
                                                                                                                                        EASTERN DISTRICT ARKANSAS
                                              UNITED STATES DISTRICT COURT
                                                                           District of
           UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT 1!4~-Hft.r...~~n                                             LER~
                                 v.                                                                                            By:_--~.o"-¥-...¥.-lf-\oo,i~~~=
                                                                                      Case Number: 4:1 OCR00229-02 BRW
                MARCUSCLEOPHUSDORN
                                                                                      USM Number: 26073-009*
Date of Original Judgment: _6_1_41_2_0_12_ _ __                                       Gene E. McKissic
(Or Date of Last Amended Judgment)                                                    Defendant's Attorney

Reason for Amendment:
D Correction of Sentence on Remand (18 U.S.C. 3742(f)(l) and (2))                     r;/Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
D Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                      D Modification oflmposed Term oflmprisonment for Extraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(1))
D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                 D Modification oflmposed Term oflmprisonment for Retroactive Amendment(s)
r;/ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                      D Direct Motion to District Court Pursuant D 28 U.S.C. § 2255 or
                                                                                        D 18 U.S.C. § 3559(c)(7)
                                                                                      D Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
r;/ pleaded guilty to count(s) _ 6 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
D pleaded nolo contendere to count(s)
     which was accepted by the court.
D    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                       Nature of Offense                                                               Offense Ended
 21 U.S.C. 841 (a)(1 )*                Aiding and Abetting the Possession of Marijuana with                             10/20/2009

 and(b)(1)(D)and                       Intent to Distribute, a class D felony

 18 u.s.c. 2
       The defendant is sentenced as provided in pages 2 through                  7   of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.                                              -----
D    The defendant has been found not guilty on count(s)
r;/ Count(s)       1 and 5                                       D is    r;/are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                6/1/2012

                                                                                     Date   oflmp];Zf~
                                                                                      Signature of Judge
                                                                                      BILLY ROY WILSON,                             U.S. District Judge
                                                                                     Name of Judge                                  Title of Judge


                                                                                     Date
                                                                                              lo- 12.-12-
                 Case 4:10-cr-00229-BRW                       Document 144          Filed 06/12/12     Page 2 of 7
AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 2 - Imprisonment                                                                    (NOTE: Identify Changes with Asterisks(*))

                                                                                                  Judgment- Page _2__ of                7
DEFENDANT: MARCUS CLEOPHUS DORN
CASE NUMBER: 4:10CR00229-02 BRW

                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of




D The court makes the following recommendations to the Bureau of Prisons:




D The defendant is remanded to the custody of the United States Marshal.

D The defendant shall surrender to the United States Marshal for this district:
     D     at                                      D     a.m    D    p.m.      on

     D     as notified by the United States Marshal.

D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

     D     before 2 p.m. on

     D     as notified by the United States Marshal.

    D      as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




    Defendant delivered on
                                  - - - - - - - - - - - - - - - - to
a t - - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                            By_________________________________________
                                                                                          DEPUTY UNITED STATES MARSHAL
                     Case 4:10-cr-00229-BRW                       Document 144        Filed 06/12/12           Page 3 of 7
AO 24'5C       (Rev. 06/05) Amended Judgment in a Criminal Case
               Sheet 4 - Probation                                                                           (NOTE: IdentifY Changes with Asterisks(*))

                                                                                                          Judgment-Page    _3..;..__ of         7
DEFENDANT: MARCUS CLEOPHUS DORN
CASE NUMBER: 4:1 OCR00229-02 BRW
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:

 2 years.




The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court.
0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
lit The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                 If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
         Schedule of Payments sheet of this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court as well as with the additional
conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute; or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the pro5ation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and                                                                       ·
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record; personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
          defenoant' s compliance with such notification requirement.
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AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 4C - Probation                                                                 (NOTE: Identify Changes with Asterisks(*))

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DEFENDANT: MARCUS CLEOPHUS DORN
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                                       SPECIAL CONDITIONS OF SUPERVISION
The first 8 months of supervision to be served on Home Detention, with the use of an electronic monitoring device.

The defendant will be allowed to leave his residence for employment, church and medical purposes. The defendant will be
subject to the standard conditions of Home Detention and is to follow electronic monitoring procedures specified by the
Probation Officer. Costs for electronic monitoring will be paid by the Government.
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AO 2li5C   (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks(*))

                                                                                                                   5 _of
                                                                                                  Judgment- Page _ _                      7
DEFENDANT: MARCUS CLEOPHUS DORN
CASE NUMBER: 4:1 OCR00229-02 BRW
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                                         Fine                              Restitution
TOTALS           $ 100.00                                          $ 1,000.00                         $ 0.00


DO The determination of restitution is deferred until------ . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately 2roportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                   Total Loss*              Restitution Ordered      Priority or Percentage




TOTALS                                                         $                          $

D    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

f!/ The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
    r;j the interest requirement is waived for f!/ fme D restitution.
     D the interest requirement for            D    fine      D restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April23, 1996.
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A0245C      (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 5 A- Criminal Monetary Penalties                                                (NOTE: Identify Changes with Asterisks(*))

                                                                                                                6_ of
                                                                                                Judgment-Page _ _                    7
DEFENDANT: MARCUS CLEOPHUS DORN
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                   ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
*The defendant shall not incur any new debt until his fine obligation is satisfied or paid in full.
    ..             Case 4:10-cr-00229-BRW                        Document 144      Filed 06/12/12           Page 7 of 7

AO 245C       (Rev. 06/05) Amended Judgment in a Criminal Case
              Sheet 6 - Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks (*))

                                                                                                                       7_ of
                                                                                                      Judgment- Page _ _                       7
DEFENDANT: MARCUS CLEOPHUS DORN
CASE NUMBER: 4:1 OCR00229-02 BRW

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ij( Lump sum payment of$ _1_0_0_.0_0_ _ __ due immediately, balance due
          0      not later than                                      , or
          0 in accordance with 0 C,                0    D,       0   E,or   ~Fbelow; or

B    0 Payment to begin immediately (may be combined with D C,                     0 D, or      OF below); or

C    0    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    0    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ij(' Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monet~ Qenalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
